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10
                                 UNITED STATES DISTRICT COURT
11
                                NORTHERN DISTRICT OF CALIFORNIA
12
                                      SAN FRANCISCO DIVISION
13
14   JOHN DOE 1, JOHN DOE 2, and all others        Case No. 3:24-cv-03713-CRB
     similarly situated,
15                                                 Hon. Charles R. Breyer
                            Plaintiffs,
16                                                 PLAINTIFFS’ OPPOSITION TO
                                                   MOTION TO DISMISS
17          v.

18   FENIX INTERNATIONAL LIMITED;                  Date:      September 20, 2024
     FENIX INTERNET LLC,                           Time:      10:00 a.m.
19              Defendants.                        Courtroom: 6

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 1                                    SUMMARY OF ARGUMENT

 2          In this action, a proposed class of “at least 10,000 members” who entered contracts to view

 3   content available on the adult-themed OnlyFans.com website allege that Defendants Fenix

 4   International Limited (“FIL”) and Fenix Internet LLC (“Fenix”) charged them illegal “subscription

 5   renewal fees” in violation of California’s Automatic Renewal Law. Compl. ¶ 10. Defendants move

 6   to dismiss the complaint on four grounds, but none of them is availing.

 7          First, Defendants argue that they are not subject to personal jurisdiction in California

 8   because the complaint fails to allege that Defendants “purposefully directed [the challenged] acts

 9   at California.” Mem. at 6 (emphasis in original). But Defendants’ argument overlooks that

10   personal jurisdiction is also established where “[t]he non-resident defendant . . . consummate[s]

11   some transaction with the forum or resident thereof . . . or . . . purposefully avails himself of the

12   privilege of conducting activities in the forum.” Davis v. Cranfield Aerospace Sols., Ltd., 71 F.4th

13   1154, 1161-62 (9th Cir. 2023) (citation omitted). Here, Plaintiffs allege that Defendant FIL—via

14   its ownership of OnlyFans.com—“enter[ed] contracts with thousands of residents of California.”

15   Compl. ¶ 8. Defendants’ own moving papers show that class members’ contractual relationships

16   with FIL typically span multiple years, and involve dozens if not hundreds of financial

17   “transaction[s] with the forum.” Davis, 71 F.4th at 1161; Decl. of Lee Taylor, Exs. F, G (Plaintiffs’

18   transaction histories). So even supposing Defendants did not “purposely direct” the OnlyFans

19   website at California, they plainly “consummate some transaction[s] with the forum or resident[s]

20   thereof,” and “purposefully avail[]” themselves of doing business in California.
21          Second, Defendants argue that the forum selection clause in FIL’s Terms of Service

22   requires dismissal in favor of adjudication in “England and Wales.” Mem. 8-9. But the Ninth

23   Circuit holds that “a forum selection clause [is] unenforceable ‘if enforcement would contravene a

24   strong public policy of the forum in which suit is brought, whether declared by statute or by judicial

25   decision.’” Doe 1 v. AOL, LLC, 552 F.3d 1077, 1083 (9th Cir. 2009) (quoting M/S Bremen v.

26   Zapata Off–Shore Co., 407 U.S. 1, 17 (1972)). Multiple “judicial decision[s]” from state and
27   federal courts hold that both the mechanism of a consumer class action and the substantive

28   provisions of California’s Automatic Renewal Law (“ARL”) are strong public policies of the state
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 1   of California. See, e.g., id. at 1083 (“California public policy [] strongly favors consumer class

 2   actions.”); America Online, Inc. v. Superior Court of Alameda County (Mendoza), 90 Cal. App. 4th

 3   1, 15 (2001) (“The unavailability of class action relief in this context is sufficient in and by itself

 4   to preclude enforcement of the TOS forum selection clause.”); Kissel v. Code 42 Software, Inc.,

 5   2016 WL 7647691, at *5 (C.D. Cal. Apr. 14, 2016) (holding that the ARL reflects a fundamental

 6   policy of California); King v. Bumble Trading, Inc., 393 F. Supp. 3d 856, 868 (N.D. Cal. 2019)

 7   (“the Renewal Law nonetheless represents a fundamental public policy”).

 8          Third, Defendants argue that Plaintiffs lack standing because they fail to allege “‘actual

 9   reliance’ on false or misleading statements.” Mem. at 10. But Plaintiffs’ claims are based on the

10   UCL’s “unlawful” prong, not its “fraudulent” prong, Compl. ¶¶ 51-53, and “UCL actions not based

11   on a fraud theory do not require actual reliance.” Turcios v. Carma Lab’ys, Inc., 296 F.R.D. 638,

12   644 (C.D. Cal. 2014) (citing In re Tobacco II, 46 Cal. 4th 298, 326 (2009)). “In those actions, the

13   plaintiff must simply show that the alleged violation caused or resulted in the loss of money or

14   property.” Medrazo v. Honda of North Hollywood, 205 Cal. App. 4th 1, 12 (2012). Nevertheless,

15   Defendants argue that one can infer from Plaintiffs’ transaction histories that they would have lost

16   the same money even had Defendants complied with the ARL. At this stage, however, inferences

17   are to be drawn in favor of the plaintiff, not the defendant. Here, Plaintiffs allege that they “would

18   not have incurred the automatic renewal fees . . . had Defendants fully, clearly, and conspicuously

19   apprised them of the terms of the automatic renewal offer described herein.” Compl. ¶ 54.

20          Fourth, Defendant Fenix Internet argues that Plaintiffs fail to state a claim because Fenix
21   Internet “does not own or operate OnlyFans, and is not responsible for the representations or

22   disclosures that do or do not appear on the platform.” Mem. at 11. But the ARL makes it

23   independently “unlawful” to “charge the consumer’s credit or debit card” while in derogation of

24   the ARL’s requirements. Cal. Bus. & Prof. Code § 17602(a)(2). And Defendants concede that

25   Fenix Internet “collect[s] payments made by Fans,” i.e., Plaintiffs and members of the class. Mem.

26   at 7 n.5. In other words, it is the entity that charges Plaintiffs’ and the class members’ credit cards
27   in violation of § 17602(a)(2), after its parent company FIL fails to provide the renewal disclosures

28   required by the ARL’s other subsections.
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 1                                           INTRODUCTION

 2          This case arises from the fact that Defendants have enrolled thousands if not tens of

 3   thousands of California residents into paying money to view content from “performers” on

 4   Defendants’ popular “OnlyFans.com” website, without first explicitly informing those users that

 5   their payment will create an automatically renewing monthly subscription. That failure is a

 6   violation of California’s Automatic Renewal Law (“ARL”), Cal. Bus. & Prof. Code §§ 17600 et

 7   seq., and thereby a violation of the “unlawful prong” of California’s Unfair Competition Law. Cal.

 8   Bus. & Prof. Code §§ 17200 et seq.

 9                         FACTUAL AND PROCEDURAL BACKGROUND

10          A. Plaintiffs’ Allegations

11          The substance of this case is simple. Plaintiffs allege that when they (and all other

12   California users of OnlyFans) click to view the paid content of an OnlyFans “creator,” they are

13   automatically enrolled in a renewing monthly subscription to that creator’s fan-page, without

14   receiving either the ‘pre-enrollment’ or ‘post-enrollment’ disclosures that are required by the ARL,

15   or an immediately apparent means of cancellation. Compl. ¶¶ 16, 52. The complaint illustrates

16   these failures with sequential screenshots that walk through the entire enrollment and subscription

17   process, to visually demonstrate the several ways in which Defendants’ process fails to satisfy the

18   ARL’s requirements. Id. ¶¶ 21-30. On behalf of themselves and a clearly defined class, Plaintiffs

19   seek restitution of the subscription fees they were unlawfully charged as a result of Defendants’

20   violations, plus public injunctive relief to forestall members of the general public who have not yet

21   been subjected to Defendants’ ARL violations from falling victim in the same way that Plaintiffs

22   and members of the class did. Id. ¶¶ 56-58.
            B. The Muto Case in the Central District of California
23
            Defendants perceive this case as “a blatant attempt by Plaintiffs’ counsel to evade a May 2,
24
     2024 decision” in Muto v. Fenix International Ltd. from the Central District of California, in which
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     similar claims brought by four other OnlyFans users were dismissed upon the conclusion that
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     Defendants are not subject to personal jurisdiction in California. Summ. of Argument at v. But
27
     there is no “evasion” involved, nor does the filing of this complaint constitute “forum shopping.”
28

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 1   Rather, in the Muto case, Defendants won judgment in their favor, and the plaintiffs in that case

 2   lost the judgment. See C.D. Cal. Case No. 5:22-cv-02164-SSS-KK (ECF No. 62). Defendants

 3   complain that Plaintiffs’ counsel did not appeal that judgment, but instead filed a new case. But

 4   they cite no authority for the proposition that a lawyer must spend years exhausting potential

 5   appeals of a given legal theory prior to starting back at square one. If the first judgment against the

 6   theory was correct, then the same fate will befall the second case. In contrast, all of the cases about

 7   “forum shopping” that Defendants catalog in their footnote 1 involve the completely different

 8   circumstance of a plaintiff or his counsel filing a new case in the face of an unfavorable

 9   interlocutory ruling (like denial of class certification), or where the plaintiff or his counsel

10   voluntarily chose to dismiss and start over. Here, neither John Doe 1 nor John Doe 2 were involved

11   in the Muto case, and their counsel obviously did not voluntarily have judgment entered against

12   them and their clients. Nor is counsel aware of precedent suggesting that where a law firm

13   represents clients pursuing a given legal theory, all cases it files on that theory must be filed in only

14   one district. That is especially true where, as here, both the firm and the lead plaintiff are residents

15   of this district.

16           While it is true that counsel could have appealed the Muto judgment, class counsel owe a

17   duty to the thousands (or tens of thousands) of absent class members. Those thousands of victims

18   of Defendants’ unlawful credit card charges would not be well-served by a multi-year detour to the

19   Ninth Circuit (and likely petition for certiorari). That is especially so where the outcome of that

20   years-long delay would have been all but inevitable: As shown infra at 7-8, the Muto court plainly
21   erred by disregarding the significance of the fact that this case involves thousands of years-long

22   contracts between California residents and the non-resident defendant. Instead of considering

23   contract cases, the Muto court analogized Plaintiffs’ claims to trademark cases, in which there was

24   no contractual relationship at all between the out-of-state website defendant and the in-state

25   plaintiff. See Muto v. Fenix Int’l Ltd., 2024 WL 2148734, at *4 (C.D. Cal. May 2, 2024) (citing

26   Mavrix Photo, Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1231 (9th Cir. 2011) and Herbal Brands,
27   Inc. v. Photoplaza, Inc., 72 F.4th 1085, 1091-92 (9th Cir. 2023)). Even then, both of those cases

28   concluded that the website defendant was subject to specific personal jurisdiction in California.
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 1   Mavrix, 647 F.3d at 1229-31; Herbal Brands, 72 F.4th at 1093-94.1 For that and other reasons,

 2   Plaintiffs respectfully suggest that the Muto court’s three-sentence discussion of personal

 3   jurisdiction is not strong persuasive authority. See Muto, 2024 WL 2148734, at *4.

 4                                               ARGUMENT

 5       I.   BOTH FIL AND FENIX INTERNET ARE SUBJECT TO SPECIFIC
              JURISDICTION IN CALIFORNIA.
 6
              Defendants are subject to specific jurisdiction in California because FIL entered into
 7
     thousands of long-term contracts with California residents, and Fenix Internet thereafter facilitated
 8
     the processing of the financial transactions by which those thousands of residents paid money to
 9
     FIL pursuant to the terms of those contracts. Compl. ¶¶ 9-11.
10
              The Ninth Circuit applies a three-part test to determine whether the exercise of specific
11
     jurisdiction over a nonresident defendant is appropriate:
12
              (1) The non-resident defendant must purposefully direct his activities or
13            consummate some transaction with the forum or resident thereof; or perform some
              act by which he purposefully avails himself of the privilege of conducting
14            activities in the forum, thereby invoking the benefits and protections of its laws;

15            (2) the claim must be one which arises out of or relates to the defendant’s forum-
              related activities; and
16
              (3) the exercise of jurisdiction must comport with fair play and substantial justice,
17            i.e. it must be reasonable.

18   Davis v. Cranfield Aerospace Sols., Ltd., 71 F.4th 1154, 1161-62 (9th Cir. 2023) (quoting

19   Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797 (9th Cir. 2004)). In moving to dismiss

20   the Complaint, Defendants do not contest that Plaintiffs’ claim “arises out of or relates to” the

21   predicate forum-related activities. Mem. at 6-7. Nor do they dispute that exercise of jurisdiction

22   would “comport with fair play and substantial justice” under the third factor. Id. Instead, they

23   contest only the first factor.        Id.   That argument fails, however, because Defendants

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     1
       Defendants also complain that counsel did not file “a motion for reconsideration” in Muto. Mem.
     at 4. But while this District permits reconsideration motions for failure to consider “dispositive
27   legal arguments which were presented to the Court,” L.R. 7-9(b)(3), the Central District does not.
     C.D. Cal. L.R. 7-18(a)-(c). So the Muto plaintiffs could not have legitimately moved for
28   reconsideration.
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 1   “consummate[d] [thousands of] transaction[s]” with residents of California, and “purposefully

 2   avail[ed]” themselves of the privilege of doing business in California. Davis, 71 F.4th at 1161-62.

 3          A.    Defendants Purposefully Availed Themselves of the Privilege of Doing Business
                  in California By Entering Thousands of Long Term Contracts with California
 4                Residents.
 5          Defendants’ argument against the first factor in the Davis/Schwarzenegger test largely

 6   misses the mark. Defendants entirely ignore that the first factor is satisfied where an out-of-state

 7   defendant “purposefully avails himself of the privilege of conducting activities in the forum.”

 8   Davis, 71 F.4th at 1162. Instead, their only argument on this factor is that FIL did not “purposefully

 9   direct” any acts at California. Mem. at 6. Accordingly, they argue that Plaintiffs “must show that

10   the defendant ‘(1) committed an intentional act, (2) expressly aimed at the forum state, (3) causing

11   harm that the defendant knows is likely to be suffered in the forum state.’” Id. (emphasis added,

12   quoting Dole Food Co. v. Watts, 303 F.3d 1104, 1111 (9th Cir. 2002)). But as Dole itself explains,

13   it addressed only the “express aiming” aspect of the test, because (at the time) the Ninth Circuit

14   deemed that to be the only appropriate test “in intentional tort cases.” 303 F.3d at 1111.

15          As an initial matter, this is not an “intentional tort case[],” id., so under the rubric used in

16   Dole, the applicable test would be “purposeful availment,” not “purposeful direction.” See

17   Schwarzenegger, 374, F.3d at 802 (“A purposeful availment analysis is most often used in suits

18   sounding in contract.”). More recently, however, the Ninth Circuit has clarified that it “doesn’t

19   serve the purposes of due process” to maintain “a ‘rigid dividing line’” under which intentional

20   torts are evaluated under a “purposeful direction” test, while contract disputes are evaluated for

21   “purposeful availment.” Davis, 71 F.4th at 1162. Quoting an intervening en banc opinion, Davis

22   explained that “the first prong ‘may be satisfied by purposeful availment,’ ‘by purposeful

23   direction,’ or ‘by some combination thereof.’” Id. (quoting Yahoo! Inc. v. La Ligue Contre Le

24   Racisme Et L’Antisemitisme, 433 F.3d 1199, 1206 (9th Cir. 2006) (en banc)).

25          Defendants thus miss the mark in arguing that the complaint must be dismissed because

26   Plaintiffs “fail to allege facts showing that FIL or Fenix Internet purposefully directed such acts at

27   California.” Mem. at 6 (emphasis by Defendants). As Davis explains, to determine whether a

28   defendant is subject to personal jurisdiction for having purposefully availed itself of conducting
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 1   business activities in a state, “we examine whether the defendant ‘deliberately reached out beyond

 2   [its] home—by, for example, exploiting a market in the forum State or entering a contractual

 3   relationship centered there.’” 71 F.4th at 1163 (quoting Yamashita v. LG Chem, Ltd., 62 F.4th 496,

 4   503 (9th Cir. 2023) (emphasis added)). Here, neither of those is even a close question. As a

 5   worldwide phenomenon, there can be no doubt that in launching OnlyFans, FIL “deliberately

 6   reached out beyond its home” in the United Kingdom to “exploit[] a market in the forum State” of

 7   California (the most populous state in the country, with a GDP greater than that of the entire UK2).

 8   Indeed, the fact that FIL “deliberately” reached outside the UK to exploit other markets is seen in

 9   the very fact of Defendants’ second argument, regarding the forum-selection clause in the Terms

10   of Service. Had FIL intended to exploit only the UK market, there would have been no need for it

11   to include a forum selection clause, let alone one that would permit users to “rely on mandatory

12   rules of the law of the country where you live.” Decl. of Lee Taylor, Ex. C § 16(a).

13           Yet the coup-de-grace on whether Defendants “purposefully availed” themselves of doing

14   business in California is found in Davis’s alternative path to satisfying that showing: “or entering

15   a contractual relationship centered there.’” 71 F.4th at 1163 (quoting Yamashita v. LG Chem, Ltd.,

16   62 F.4th 496, 503 (9th Cir. 2023)). Here, the contractual relationships between FIL and Plaintiffs

17   and members of the class are clearly “centered” in California. Defendants submit John Doe 1 and

18   John Doe 2’s complete transaction histories with their motion. See Taylor Decl. Exs. F, G. Those

19   documents helpfully include a column titled “IP City,” which shows, for example, that John Doe 1

20   registered for OnlyFans on March 3, 2020, from San Jose, California. Id. Ex. F at 2. That column
21   further shows that all but a handful of John Doe 1’s hundreds of individual transactions with FIL

22   (and Fenix, respecting the financial transactions) were performed through “IP Cit[ies]” in

23   California. Id. at 2-8. Likewise, John Doe 2 entered his contractual relationship with FIL on May

24   31, 2019, and the great majority of his transactions were likewise performed from an “IP City” in

25   California. Taylor Decl. Ex. G at 2-51. Indeed, (other than sporadic transactions in other states)

26   2
      See https://en.wikipedia.org/wiki/California#Economy (reporting California’s “gross state
27   product” at $4.0 trillion in 2024);
     https://en.wikipedia.org/wiki/Economy_of_the_United_Kingdom (reporting the UK’s GDP at
28   $3.495 trillion in 2024).
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 1   there is no evidence that any aspect of the “contractual relationship” between Defendants and

 2   Plaintiffs was entered into and performed anywhere but California.

 3          With respect to internet-based businesses, Starlight International, Ltd. v. Lifeguard Health,

 4   LLC, and the cases it relies on provide an analogous roadmap. No. 08-cv-1894-RS, 2008 WL

 5   2899903 (N.D. Cal. July 22, 2008). There, the court found purposeful availment where an internet

 6   business “made $2,559 of sales to California customers via its website over thirteen months.” Id.

 7   at *6. The court rejected the notion that an online company must “‘target’ California consumers in

 8   particular” to avail itself of the privilege of conducting business in California. It noted that when

 9   it comes to internet-based companies, the Ninth Circuit has relied on the “sliding scale” approach

10   applied in other cases, under which “‘[a]t one end of the spectrum [when specific jurisdiction is

11   proper] are situations where a defendant clearly does business over the Internet [while at] the

12   opposite end [when specific jurisdiction is improper] are situations where a defendant has simply

13   posted information on an Internet Web site which is accessible to users in foreign jurisdictions.’”

14   Id. at *5 (citing Cybersell, Inc. v. Cybersell, Inc., 130 F.3d 414 (9th Cir. 1997) and quoting Zippo

15   Mfg. Co. v. Zippo Dot Com, Inc., 952 F. Supp. 1119, 1123-24 (W.D. Pa. 1997) (alterations by

16   Starlight)). The Starlight court then cited Stomp, Inc. v. NeatO, LLC, 61 F. Supp. 2d 1074 (C.D.

17   Cal. 1999), distilling the principle that where a defendant’s “website was not passive, but

18   interactive, had generated actual sales to California consumers, [it had] therefore established

19   sufficient minimum contacts to invoke personal jurisdiction in California.” Id. at *5; see also

20   Boschetto v. Hansing, 539 F.3d 1011, 1018 (9th Cir. 2008) (recognizing the continuing validity of
21   the sliding-scale approach).

22          Notably, Defendants’ contacts with California and its residents are far more extensive in

23   this case than they were in Starlight International and Stomp, Inc. Jurisdiction was established in

24   those cases through the website-defendants making one-off sales to California residents, without

25   anything resembling the continuous and detailed contractual relationship that is established when a

26   California resident joins OnlyFans. See Taylor Decl. Ex. C (27-page contract detailing the
27   relationship). Even then, the contracts here did not just commemorate a single, momentary

28   transaction—John Doe 1’s relationship with Defendants has endured for over four years and is
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 1   evidently ongoing, id. Ex. F at 2, 8; while John Doe 2’s relationship with Defendants spanned fifty

 2   pages of separate transactions, over just shy of four years. Id. Ex. G 2, 51. And as Mr. Taylor

 3   explains, the contract itself went through multiple reaffirmations over the term of the relationship

 4   between Plaintiffs and Defendants. Taylor Decl. ¶¶ 15-19 (describing updates).

 5           B. The Muto Opinion’s Three-Sentence Analysis of Personal Jurisdiction Should Not
                Be Persuasive.
 6
             Continuing to hinge their argument strictly on a “purposeful direction” analysis, Defendants
 7
     hang their hat on Muto. Mem. at 7. In fact, Defendants are able to block-quote the entirety of
 8
     Muto’s analysis, which spans just three sentences. Id. (quoting 2024 WL 2148734, at *4). Even
 9
     then, the Muto court made the same error that Defendants make in this motion (and that they had
10
     invited in Muto):     While Muto’s “Legal Standard” section duly noted that jurisdiction can be
11
     established either by “purposeful direction” or “purposeful availment,” id. at *4, its “Discussion”
12
     section exclusively considered whether Defendants had purposefully directed their activities at
13
     California. Id. Accordingly, quoting Herbal Brands, it reasoned that when evaluating jurisdiction,
14
     “the court must consider whether the defendant’s generally accessible website had some ‘forum-
15
     specific focus,’ or if the defendant ‘exhibited an intent to cultivate an audience in the forum.’” Id.
16
     (quoting 72 F.4th at 1091-92). But since the challenged conduct in Herbal Brands consisted solely
17
     of intentional torts, the resulting opinion was explicit in evaluating jurisdiction solely under the
18
     “purposeful direction” test. 72 F.4th at 1091 (“Because each of [plaintiff’s] claims requires an
19
     intentional tortious or ‘tort-like’ act, we employ the purposeful direction test.”).           Evidently
20
     reasoning that Herbal Brands set forth the exclusive analysis to follow when it comes to internet-
21
     based business, the Muto court wrongly concluded that “Plaintiffs’ assertions that a significant
22
     number of California residents visited and purchased subscriptions through Defendants’ website
23
     are not enough to carry their burden in this inquiry.” 2024 WL 2148734, at *4 (emphasis added).
24
             An opinion from one district court judge is of course not binding on another. Camreta v.
25
     Greene, 563 U.S. 692, n.7 (2011). And while there may be independent value in consistency among
26
     district court rulings within a circuit, that value disappears if the first ruling is wrong, or the result
27
     of an erroneous or incomplete analysis. Plaintiffs respectfully suggest that that is the case here, and
28
                                                         7
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 1   that this Court should independently evaluate whether Defendants purposefully availed themselves

 2   of doing business in California with subscribers to OnlyFans, and thus satisfy the most fundamental

 3   jurisdictional inquiry, that they “should reasonably anticipate being haled into court []here.”

 4   World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980).

 5       II.   THE FORUM SELECTION CLAUSE IS UNENFORCEABLE BECAUSE IT
               WOULD CONTRAVENE TWO STRONG CALIFORNIA POLICIES.
 6
               “[A] forum selection clause is unenforceable ‘if enforcement would contravene a strong
 7
     public policy of the forum in which suit is brought, whether declared by statute or by judicial
 8
     decision.’” Doe 1 v. AOL, LLC, 552 F.3d 1077, 1083 (9th Cir. 2009) (quoting M/S Bremen v.
 9
     Zapata Off–Shore Co., 407 U.S. 1, 17 (1972)). In other words, “California courts will refuse to
10
     defer to the selected forum if to do so would substantially diminish the rights of California residents
11
     in a way that violates our state’s public policy.” America Online, Inc. v. Superior Court of Alameda
12
     County (Mendoza), 90 Cal. App. 4th 1, 12 (2001). In contrast to its abbreviated jurisdictional
13
     analysis, the Muto court undertook an extensive analysis of the forum selection clause, and correctly
14
     concluded that “Defendants’ forum selection clause is void as contrary to California public policy.”
15
     Muto, 2024 WL 2148734, at *2-4.3
16
               In AOL, plaintiffs brought a class action alleging various violations of California consumer
17
     protection law. 552 F.3d at 1078. Defendant moved to dismiss for improper venue, relying on a
18
     forum selection clause requiring any action to be brought in Virginia. Id. at 1079-80. The district
19
     court granted the motion, but the Ninth Circuit reversed, because Virginia would not permit the
20
     claims to proceed on a class basis. It held that “[a]s to such California resident plaintiffs, Mendoza
21
     holds California public policy is violated by forcing such plaintiffs to waive their rights to a class
22
     action and remedies under California consumer law.” Id. at 1084. As previewed above, Mendoza
23
     noted that “[t]he unavailability of class action relief in this context is sufficient in and by itself to
24
     preclude enforcement of the TOS forum selection clause.” 90 Cal. App. 4th at 712.
25
26   3
       It is of course not unusual for people (or courts) to be correct about one issue but wrong about
27   another, which explains why district courts are often affirmed in part and reversed in part. Even
     then, it is perhaps more accurate to describe the Muto court’s jurisdictional analysis as “incomplete”
28   rather than “wrong.” See supra at 7.
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 1          Beyond the class aspect, just as the substantive law at issue in Doe/Mendoza (the CLRA)

 2   embodied a strong public policy sufficient to deny dismissal, the substantive law at issue here (the

 3   ARL) does the same. The only two courts to have considered whether the ARL is a fundamental

 4   policy of California have concluded that it is. Kissel v. Code 42 Software, Inc., 2016 WL 7647691,

 5   at *5 (C.D. Cal. Apr. 14, 2016) ( “the ARL reflects a fundamental policy of California.”) (emphasis

 6   in original); King v. Bumble Trading, Inc., 393 F. Supp. 3d 856, 868 (N.D. Cal. 2019) (“the Renewal

 7   Law nonetheless represents a fundamental public policy”).

 8          Curiously, although Defendants are well aware of the “fundamental public policy” obstacle

 9   from the briefing on this issue in Muto, they offer only one sentence of argument to contend that

10   litigating in the UK would be equivalent. Mem. at 8 l. 25-28. That sentence points to the declaration

11   of an English barrister who opines that Plaintiffs would “have numerous ‘procedural routes’ to

12   pursue a ‘collective’ action there, including a ‘so called ‘top down’ award.’” Id. Plaintiffs respond

13   to that point in Parts II.B and C below, and respectfully suggest that Defendants should not be

14   permitted to use their reply brief to make new arguments beyond the one-sentence assertion that

15   made in their opening brief. But first, Plaintiffs respond to Defendants’ argument concerning the

16   only substantive authority they invoke in this section, Losson v. Union Des Associations

17   Europeennes De Football, 2024 WL 3406987 (N.D. Cal. July 11, 2024). See Mem. at 10.

18          A. Losson Is Inapposite Because the Plaintiff There Did Not Contend that Enforcing
               the Forum Selection Clause Would Contravene a Strong Public Policy.
19
            As Defendants correctly recite, forum selection clauses are to be enforced unless the
20
     plaintiff establishes one of three things:      that “‘(1) the clause is invalid due to ‘fraud or
21
     overreaching,’ (2) ‘enforcement would contravene a strong public policy of the forum . . . or (3)
22
     ‘trial in the contractual forum will be so gravely difficult and inconvenient that [the plaintiff] will
23
     for all practical purposes be deprived of his day in court.’” Mem. at 8 (quoting Lewis v. Liberty
24
     Mut. Ins. Co., 953 F.3d 1160, 1165 (9th Cir. 2020)). Defendants’ reliance on the recent Losson
25
     opinion is entirely inapposite to Muto’s correct analysis and Plaintiffs’ arguments here, because as
26
     Judge Corley noted in Losson, the plaintiff there did not “argue contravention of a strong public
27
     policy,” but instead argued only the third route, that he would be “denied [his] day in court because
28
                                                       9
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 1   he would have no remedy under the laws of Switzerland.” 2024 WL 3406987, at *3.

 2          Even accepting Judge Corley’s conclusion that the absence of a class action procedure in a

 3   foreign forum is insufficient under the third route for overcoming enforcement of a forum selection

 4   clause, that (unpublished) opinion plainly cannot overcome the precedential holdings in Doe and

 5   Mendoza that the consumer class action mechanism evinces a “strong public policy” of California

 6   that is sufficient to forestall dismissal under the second route.

 7          B. Litigation in England or Wales Would Foreclose a Class Action.

 8          Defendants’ brief argument that California’s strong public policy in favor of consumer class

 9   actions would be protected if this case were sent to England or Wales is meritless, just as Muto

10   explained. 2024 WL 2148734, at *4. First, Defendants do not claim that U.S.-style class actions

11   are available in England or Wales, because they are not. The closest alternatives are described in

12   the White declaration, where Mr. White asserts that “[i]n English law there are various procedures

13   analogous to a class action which the Plaintiffs could seek to deploy.” White Decl. ¶ 50. But as

14   the Muto court found, the “procedures” he describes are not at all like a class action under Rule 23.

15   2024 WL 2148734, at *4. He first references the possibility of “a Group Litigation Order under

16   CPR 19.11.” Id. This is a non-starter, because as the England Supreme Court case that Mr. White

17   references explains, “the group action procedure suffers from the drawback that it is an ‘opt-in’

18   regime: in other words, claimants must take active steps to join the group.” See Plaintiffs’ Request

19   for Judicial Notice (“RJN”) Ex. A ¶ 25 (Lloyd v. Google, [2021] UKSC 50). Lloyd describes various

20   limitations of the group action procedure, including that “a solicitor conducting the litigation has to

21   obtain sufficient information from a potential claimant to determine whether he or she is eligible,”

22   he or she must “enter into a retainer with [each] client,” and “the initial costs alone may easily

23   exceed the potential value of the claim.” Id.          Lloyd then explains how this device has been

24   unavailing where “the number of people affected is large and the value of each individual claim

25   relatively small,” rendering the procedure “impractical in [such] cases.” Id. ¶¶ 26-28.

26          Again citing Lloyd, Mr. White proposes the possibility of “a representative action under

27   CPR 19.6, seeking declaratory relief to be followed by individual claims for compensation.” White

28   Decl. ¶ 50. But Lloyd explains why that approach is infeasible for these claims: “For claims which
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 1   individually are only worth a few hundred pounds, this process is not economic as the initial costs

 2   alone may easily exceed the potential value of the claim.”4 RJN Ex. A ¶25. Most importantly, a

 3   “representative action” under English law would impermissibly strip absent class members of their

 4   constitutional right to due process, because as Lloyd explains “[t]he rule does not confer a right to

 5   opt out of the proceedings.” RJN Ex. A ¶77. Both California courts and the Supreme Court

 6   recognize that the lack of an opt-out right “violate[s] due process.” See Wal-Mart Stores, Inc. v.

 7   Dukes, 564 U.S. 338, 363 (2011); Carter v. City of Los Angeles, 224 Cal. App. 4th 808, 826 (2014).

 8           C. There is No Analogue to the ARL in English Law.

 9           Even if England provided for a class device remotely similar to Rule 23(b)(3), England has

10   no analogue to the substantive provisions of the ARL. Mr. White opines that “English law provides

11   for at least three corresponding causes of action,” id. ¶ 34, but even superficial scrutiny shows that

12   his three alternatives are nothing of the sort. First, he says the “Consumer Contracts (Information,

13   Cancellation and Additional Charges) Regulations 2013” “contains a set of pre-and post-contractual

14   disclosure and notification protections comparable to (if not more stringent than) the California

15   Automatic Renewal Law.” Id. ¶ 34a. He says that under “Regulation 13(1)” of that law, a “trader”

16   is required to disclose the information set forth in “Schedule 2” “before a consumer is bound by a

17   distance contract.” Id. ¶ 34. Plaintiffs submit herewith the full text of that statute, which contains

18   nothing remotely similar to the ARL. RJN Ex. B. Schedule 2 sets forth 24 different requirements,

19   but the only one that concerns a “subscription” service says only that the “trader” must state “the

20   total costs per billing period.” Id. at 23 (sub. (h)). That has nothing to do with Plaintiffs’ claims

21   here. Moreover, as Mr. White forthrightly explains, Plaintiffs’ only relief under this “corresponding

22   causes of action” would be for “breach of contract.” White Decl. ¶ 42. That is unhelpful, because

23   Plaintiffs are not making a breach of contract claim.

24           Mr. White’s second and third “corresponding causes of action” are also non-responsive to

25   Plaintiffs’ claim. His second idea refers to a law in England “similar to the California Unfair

26   4
      We note that Plaintiffs’ and the class members’ claims are not “for a few hundred pounds.”
27   Subscriptions range from $4.99 to $49.99 per month, Compl. ¶ 2, so even if a given class member
     were unlawfully charged for multiple months before noticing and canceling, it would be a rare class
28   member whose entitlement to restitution reaches even $100.00.
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 1   Competition Law.” White Decl. ¶ 34b. But Plaintiffs are not seeking to enforce the UCL in the

 2   abstract, but to enforce the ARL itself. His third reference is to the “Consumer Rights Act 2015,”

 3   but by Mr. White’s own description, the “most relevant provisions” of that statute require only that

 4   “digital content will match any description of it given by the trader to the consumer,” and that any

 5   information the trader provides “is to be treated as included as a term of the contract.” Id. ¶ 44.

 6   Like the others, those provisions simply have no bearing on Plaintiffs’ claims.

 7           Finally, regarding the substitutability of English law, it should be noted that both King and

 8   Kissel held that even other states’ “corresponding causes of action,” White Decl. ¶ 34, were

 9   insufficiently protective of the fundamental ARL rights of California consumers. King, 393 F.

10   Supp. 3d at 868-69; Kissel, 2016 WL 7647691, at *4.

11           D. Defendants Identify no English Analog to California’s “Public Injunction.”

12           “The public injunction is a creature of California law that ‘has the primary purpose and

13   effect of prohibiting unlawful acts that threaten future injury to the general public.’” Rogers v. Lyft,

14   Inc., 452 F. Supp. 3d 904, 919 (N.D. Cal. 2020) (quoting McGill v. Citibank, N.A., 2 Cal. 5th 945,

15   951 (2017). Public injunction under California law sharply contrasts with common law injunctive

16   relief in that the requesting plaintiff need not “demonstrate any type of likely future injury.” Id. A

17   public injunction under California law “is designed to prevent further harm to the public at large

18   rather than to redress or prevent injury to a plaintiff,” such that it will still appropriately issue where

19   “the plaintiff has already been injured, allegedly, by such practices and is aware of them.” McGill,

20   2 Cal. 5th at 955 (citation omitted, alteration accepted). California’s Supreme Court has made it

21   very clear that “a provision in any contract … that purports to waive … the statutory right to seek

22   public injunctive relief under the UCL … is invalid and unenforceable.” McGill, 2 Cal. 5th at 962.

23           Mr. White’s declaration devotes several paragraphs to the issue of public injunctive relief,

24   but nowhere addresses the key issue of whether English courts will issue injunctions where the

25   plaintiff himself cannot show a likelihood that he will again be injured. White Decl. ¶¶ 52-59. The

26   only English authority he cites suggests that they would not. According to that precedent, “an

27   injunction may only be granted to protect a legal or equitable right [which] signifies the need to

28   identify an interest of the claimant which merits protection.” RJN Ex. C (Convoy Collateral Ltd v
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 1   Broad Ideas International [2023] AC 389, ¶52) (emphasis added). There is no indication either in

 2   that lengthy opinion or in Mr. White’s declaration that English courts are willing to issue injunctions

 3   at the behest of a fully compensated claimant who desires to prevent the respondent from causing

 4   similar injuries “to the general public,” as California uniquely permits. McGill, 2 Cal. 5th at 955.

 5   III.   PLAINTIFFS’ ALLEGATIONS ESTABLISH THEIR STANDING UNDER BOTH
            ARTICLE III AND THE UCL.
 6
            The Court can give short shrift to Defendants’ challenge to Plaintiffs’ standing. Mem. at
 7
     10-11. Here again, Defendants rely on the wrong precedent. They say that “Plaintiffs must show
 8
     ‘actual reliance’” for UCL standing, Mem. at 18, but the case they cite deals with “false advertising
 9
     and misrepresentations.” Moore v. Mars Petcare US, Inc., 966 F.3d 1007, 1020 (9th Cir. 2020).
10
     However, “[u]nder the UCL’s unlawful prong, a plaintiff must show actual reliance only if the
11
     unlawful conduct is based on fraud or misrepresentation[.]” Vargas v. JP Morgan Chase Bank,
12
     N.A., 30 F. Supp. 3d 945, 953 (C.D. Cal. 2014). Plaintiffs’ claim is based only on Defendants’
13
     unlawful violations of the ARL, not fraud or misrepresentation.
14
            Defendants point out that both Article III and UCL standing require a plaintiff to show that
15
     their economic injury was caused by, or the result of, the challenged conduct. Mem. at 10. Here,
16
     Plaintiffs properly allege that if they had received all of the pre-subscription disclosures required
17
     by the ARL, the post-subscription acknowledgment, and a ready means of cancelation, they “would
18
     not have lost to Defendants the money associated with those auto-fees.” Compl. ¶ 34 (John Doe
19
     1); see also ¶ 35 (John Doe 2). Those allegations must be accepted as true, and construed “in the
20
     light most favorable to Plaintiff as the non-moving party.” Nayab v. Cap. One Bank (USA), N.A.,
21
     942 F.3d 480, 487 (9th Cir. 2019) (citation omitted).
22
            Independently, Plaintiffs have standing because products that are provided to a consumer
23
     in derogation of the ARL’s various disclosure requirements are deemed “unconditional gifts.”
24
     Compl. ¶ 55 (citing Cal. Bus. & Prof. Code § 17603). As the court in Lopez v. Stages of Beauty,
25
     LLC explained: “In other words, when a product is delivered to a consumer in violation of the
26
     ARL, it is not considered a product that has been sold, but is considered a gift. Thus, when the
27
     Defendant collected money for that gift, it injured Plaintiff.” 307 F. Supp. 3d 1058, 1070 (S.D.
28
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 1   Cal. 2018) (citing Roz v. Nestle Waters N. Am., Inc., 2017 WL 132853, at *7-8 (C.D. Cal. Jan. 11,

 2   2017)). The Ninth Circuit (albeit in an unpublished opinion) has adopted the same reasoning, that

 3   renewal charges to a consumer’s card while the merchant is in derogation of the ARL suffices for

 4   both Article III and UCL standing. Johnson v. Pluralsight, LLC, 728 F. App'x 674, 676-77 (9th

 5   Cir. 2018).

 6          Defendants nevertheless contend that because Plaintiffs’ transaction histories show that

 7   they had previously subscribed to and then canceled their membership to certain “creators,” they

 8   “knew” that clicking on a creator would create a subscription that “would renew if not canceled.”

 9   Mem. at 11. That argument is unavailing for two reasons. First, it completely disregards the

10   manner of standing described in Lopez and Johnson—that billing a consumer a renewal fee while

11   in derogation of the ARL’s requirements is itself a cognizable injury caused by the business’s non-

12   compliance. 307 F. Supp. 3d at 1070. Second, Defendants’ argument is just an inference that they

13   draw from Plaintiffs’ past activity. One can just as easily infer that Plaintiffs canceled prior

14   subscriptions because they didn’t care for the creator’s content, the creator’s content did not match

15   the profile description, the creator had extremely little content, the creator made off-putting

16   comments, or any number of other reasons. In any event, courts are to “construe all inferences in

17   the plaintiff’s favor for the purposes of evaluating a motion to dismiss.” Arizona Students’ Ass’n

18   v. Arizona Bd. of Regents, 824 F.3d 858, 864 (9th Cir. 2016). So the inference that Defendants

19   draw from Plaintiffs’ transaction histories is not controlling (or even relevant).

20          Moreover, even if one accepted Defendants’ inference, it does not prove that Plaintiffs’ loss
21   of money was not “a result of,” Defendants’ failure to comply with the ARL’s several provisions.

22   Cal. Bus. & Prof. Code § 17204. A UCL defendant’s unlawful conduct “does not have to be the

23   only cause of the harm.” Diva Limousine, Ltd. v. Uber Techs., Inc., 392 F. Supp. 3d 1074, 1093

24   (N.D. Cal. 2019) (citation omitted). Instead, it need only be a “substantial factor” in causing the

25   plaintiff’s loss of money, and thus “a contributing cause may satisfy standing.” Id. at 1092. Even

26   assuming that Plaintiffs had at one point recognized Defendants’ auto-billing practices prior to
27   being charged an auto-renewal fee, (1) receiving clear and conspicuous disclosures at the time of

28   the transaction, (2) clicking to affirm a user’s consent to auto-billing, (3) receiving a confirming
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 1   email sent afterward, and (4) seeing a prominently located cancellation button on the website (all

 2   of which are required by the ARL, but none of which are done by Defendants) all serve the

 3   additional purpose of reminding a user that their subscription will renew if not timely canceled.

 4   Discovery will show whether Defendants’ inference is valid in the first place, but even if it is,

 5   discovery would likely also show whether Defendants’ serial violations of the ARL were

 6   nevertheless “a contributing cause” of Plaintiffs’ failure to cancel prior to being auto-billed. Id.

 7   IV.    PLAINTIFFS HAVE STATED A CLAIM AGAINST FENIX INTERNET.

 8          Defendants’ final argument is that Plaintiffs’ claim against Fenix Internet should be

 9   dismissed because “Fenix Internet does not own or operate OnlyFans, and is not responsible for the

10   representations or disclosures that do or do not appear on the platform.” Mem. at 12. But under

11   the ARL “[i]t is unlawful for any business” to, inter alia, “[c]harge the consumer’s credit or debit

12   card … for an automatic renewal” where the substantive requirements of the ARL have not been

13   complied with. Cal. Bus. & Prof. Code § 17602(a)(2). Here, Defendants openly admit that Fenix

14   Internet’s role is to “collect[] payments made by Fans from third-party processors and then

15   distribut[e] the money it collects.” Mem. at 7 n.5. In other words, Fenix Internet is the entity that

16   unlawfully “[c]harge[s] the consumer’s credit or debit card … for an automatic renewal,” Cal. Bus.

17   & Prof. Code § 17602(a)(2), after the consumer (here, Plaintiffs and the class) have failed to receive

18   the disclosures, confirmations, and ready means of cancelation mandated by the ARL. Since Fenix

19   Internet is the business that makes the charges, it has engaged in “unlawful” conduct under section

20   17602(a)(2) of the ARL, just as its parent entity FIL has engaged in “unlawful” conduct by failing

21   to meet the ARL’s substantive requirements.

22                                             CONCLUSION

23          For all of the foregoing reasons, Defendants’ motion should be denied.

24
      Dated: August 22, 2024                               GAW | POE LLP
25
26                                                         By:   s/ Mark Poe
                                                                 Mark Poe
27                                                               Attorneys for Plaintiffs

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